                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )         Case No. 1-09-cr-123-018
 v.                                                    )
                                                       )         COLLIER / LEE
 CHRISTOPHER JAMES PIERCE                              )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on October 6, 2010.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the Superseding

 Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to manufacture, distribute, and possess with the intent to distribute fifty (50)

 grams or more of a mixture and substance containing a detectable amount of methamphetamine, a

 Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B) in

 exchange for the undertakings made by the government in the written plea agreement. On the basis

 of the record made at the hearing, I find the defendant is fully capable and competent to enter an

 informed plea; the plea is made knowingly and with full understanding of each of the rights waived

 by defendant; the plea is made voluntarily and free from any force, threats, or promises, apart from

 the promises in the plea agreement; the defendant understands the nature of the charge and penalties

 provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Superseding Indictment be granted, his plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture, distribute, and possess with the intent to

 distribute fifty (50) grams or more of a mixture and substance containing a detectable amount of




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 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1)

 and 841(b)(1)(B) be accepted, the Court adjudicate defendant guilty of the lesser included offense

 of the charge in Count One of the Superseding Indictment, that is of conspiracy to manufacture,

 distribute, and possess with the intent to distribute fifty (50) grams or more of a mixture and

 substance containing a detectable amount of methamphetamine, a Schedule II controlled substance,

 in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B), and a decision on whether to accept

 the plea agreement be deferred until sentencing. I further RECOMMEND defendant remain in

 custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of

 the plea agreement, and imposition of sentence are specifically reserved for the district judge.



                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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